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                                                       U.S. District Court
                                             California Northern District (Oakland)
                                        CIVIL DOCKET FOR CASE #: 4:23-cv-04875-HSG


 Nelson et al v. Kenvue Inc. et al                                                     Date Filed: 09/22/2023
 Assigned to: Judge Haywood S Gilliam, Jr                                              Jury Demand: Plaintiff
 Cause: 28:1332 Diversity-Fraud                                                        Nature of Suit: 370 Other Fraud
                                                                                       Jurisdiction: Diversity
 Plaintiff
 Jordan Nelson                                                            represented by Sarah Nicole Westcot
                                                                                         Bursor & Fisher P.A.
                                                                                         701 Brickell Avenue
                                                                                         Suite 1420
                                                                                         Miami, FL 33131
                                                                                         305-330-5512
                                                                                         Email: swestcot@bursor.com
                                                                                         ATTORNEY TO BE NOTICED
 Plaintiff
 Regina Peralta                                                           represented by Sarah Nicole Westcot
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED


 V.
 Defendant
 Kenvue Inc.
 Defendant
 McNeil Consumer Healthcare

 Defendant
 Johnson & Johnson Consumer, Inc.
 Defendant
 CVS Pharmacy, Inc.
 Defendant
 Haleon US Capital LLC
 Defendant
 GSK Plc
 Defendant
 Albertsons Companies, Inc.
 Defendant
 Target Corporation
 Defendant
 Walmart Inc.
 Defendant
 Perrigo Company Plc


  Date Filed        # Docket Text


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  09/22/2023        1 COMPLAINT against Albertsons Companies, Inc., CVS Pharmacy, Inc., GSK Plc, Haleon US Capital LLC, Johnson
                      & Johnson Consumer, Inc., Kenvue Inc., McNeil Consumer Healthcare, Perrigo Company Plc, Target Corporation,
                      Walmart Inc. ( Filing fee $ 402, receipt number ACANDC-18673247.). Filed byRegina Peralta, Jordan Nelson.
                      (Attachments: # 1 Civil Cover Sheet)(Westcot, Sarah) (Filed on 9/22/2023) (Entered: 09/22/2023)
  09/22/2023        2 Proposed Summons. (Westcot, Sarah) (Filed on 9/22/2023) (Entered: 09/22/2023)
  09/25/2023        3 Case assigned to Magistrate Judge Sallie Kim.

                       Counsel for plaintiff or the removing party is responsible for serving the Complaint or Notice of Removal, Summons
                       and the assigned judge's standing orders and all other new case documents upon the opposing parties. For
                       information, visit E-Filing A New Civil Case at http://cand.uscourts.gov/ecf/caseopening.

                       Standing orders can be downloaded from the court's web page at www.cand.uscourts.gov/judges. Upon receipt, the
                       summons will be issued and returned electronically. A scheduling order will be sent by Notice of Electronic Filing
                       (NEF) within two business days. Consent/Declination due by 10/10/2023. (as, COURT STAFF) (Filed on 9/25/2023)
                       (Entered: 09/25/2023)
  09/25/2023        4 Initial Case Management Scheduling Order with ADR Deadlines: Case Management Statement due by
                      1/1/2024. Initial Case Management Conference set for 1/8/2024 01:30 PM in San Francisco, Courtroom C,
                      15th Floor. (msr, COURT STAFF) (Filed on 9/25/2023) (Entered: 09/25/2023)
  09/25/2023        5 Summons Issued as to Albertsons Companies, Inc., CVS Pharmacy, Inc., GSK Plc, Haleon US Capital LLC, Johnson
                      & Johnson Consumer, Inc., Kenvue Inc., McNeil Consumer Healthcare, Perrigo Company Plc, Target Corporation,
                      Walmart Inc.. (msr, COURT STAFF) (Filed on 9/25/2023) (Entered: 09/25/2023)
  10/02/2023        6 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by Jordan Nelson, Regina Peralta.. (Westcot,
                      Sarah) (Filed on 10/2/2023) (Entered: 10/02/2023)
  10/02/2023        7 CLERK'S NOTICE OF IMPENDING REASSIGNMENT TO A U.S. DISTRICT COURT JUDGE: The Clerk of this
                      Court will now randomly reassign this case to a District Judge because either (1) a party has not consented to the
                      jurisdiction of a Magistrate Judge, or (2) time is of the essence in deciding a pending judicial action for which the
                      necessary consents to Magistrate Judge jurisdiction have not been secured. You will be informed by separate notice
                      of the district judge to whom this case is reassigned.

                       ALL HEARING DATES PRESENTLY SCHEDULED BEFORE THE CURRENT MAGISTRATE JUDGE ARE
                       VACATED AND SHOULD BE RE-NOTICED FOR HEARING BEFORE THE JUDGE TO WHOM THIS CASE
                       IS REASSIGNED.

                       This is a text only docket entry; there is no document associated with this notice. (mkl, COURT STAFF) (Filed on
                       10/2/2023) (Entered: 10/02/2023)
  10/02/2023        8 ORDER REASSIGNING CASE. Case reassigned using a proportionate, random, and blind system pursuant
                      to General Order No. 44 to Judge Haywood S Gilliam, Jr for all further proceedings. Magistrate Judge Sallie
                      Kim no longer assigned to case. Signed by Clerk on 10/02/2023. (mbc, COURT STAFF) (Filed on 10/2/2023)
                      (Entered: 10/02/2023)
  10/03/2023        9 CLERK'S NOTICE SETTING A TELEPHONIC CASE MANAGEMENT CONFERENCE FOR REASSIGNED
                      CIVIL CASE.Notice is hereby given that a Telephonic Case Management Conference has been set for January 9,
                      2024, before Judge Haywood S. Gilliam, Jr., at 2:00 p.m. Case Management Statement due by January 2nd. Standing
                      orders can be downloaded from the court's web page at www.cand.uscourts.gov/judges. All future filings should
                      reflect the case number as 4:23-cv-04875-HSG.

                       The January 9, 2024 proceeding will be held by AT&T Conference Line. The parties are advised that in the event of
                       an audio problem, counsel should be prepared to attend the hearing via Zoom conference at the Courts direction. The
                       court circulates the following conference number to allow the equivalent of a public hearing by telephone.

                       For conference line information, see: https://apps.cand.uscourts.gov/telhrg/

                       All counsel, members of the public and press please use the following dial-in information below to access the
                       conference line:

                       Dial In: 888-808-6929

                       Access Code: 6064255

                       The Court may be in session with proceedings in progress when you connect to the conference line. Therefore, mute
                       your phone if possible and wait for the Court to address you before speaking on the line. For call clarity, parties shall


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                       NOT use speaker phone or earpieces for these calls, and where at all possible, parties shall use landlines. The parties
                       are further advised to ensure that the Court can hear and understand them clearly before speaking at length.

                       PLEASE NOTE: Persons granted access to court proceedings held by telephone or videoconference are reminded
                       that photographing, recording, and rebroadcasting of court proceedings, including screenshots or other visual
                       copying of a hearing, is absolutely prohibited. See General Order 58 at Paragraph III.

                       PLEASE NOTE: All attorneys and pro se litigants appearing for a telephonic case management conference are
                       required to dial-in at least 15 minutes before the hearing to check-in with the CRD.

                       (This is a text-only entry generated by the court. There is no document associated with this entry.)(ndr, COURT
                       STAFF) (Filed on 10/3/2023) (Entered: 10/03/2023)



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                                          Billable Pages: 3               Cost:          0.30




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 9   Counsel for Plaintiffs

10

11                                UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13

14   JORDAN NELSON and REGINA PERALTA,                    Case No.
     individually and on behalf of all others similarly
15   situated,
                                                          CLASS ACTION COMPLAINT
16                                       Plaintiffs,
17                                                        JURY TRIAL DEMANDED
            v.
18   KENVUE, INC., MCNEIL CONSUMER
     HEALTHCARE, JOHNSON & JOHNSON
19   CONSUMER, INC., CVS PHARMACY, INC.,
     HALEON US CAPITAL LLC, GSK PLC,
20   ALBERTSONS COMPANIES, INC., TARGET
     CORPORATION, WALMART INC., and
21   PERRIGO COMPANY PLC,
22                                        Defendants.
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 1             Plaintiff Jordan Nelson (“Plaintiff Nelson”) and Plaintiff Regina Peralta (“Plaintiff Peralta”)

 2   (collectively, “Plaintiffs”) bring this action on behalf of themselves and all others similarly situated

 3   against Defendants Kenvue Inc., McNeil Consumer Healthcare, Johnson & Johnson Consumer, Inc.,

 4   CVS Pharmacy, Inc., Haleon US Capital LLC, GSK Plc, Albertsons Companies, Inc., Target

 5   Corporation, Walmart Inc., and Perrigo Company Plc (collectively, “Defendants”). Plaintiffs make

 6   the following allegations pursuant to the investigation of their counsel and based upon information

 7   and belief, except as to allegations specifically pertaining to themselves and their counsel, which are

 8   based on personal knowledge.

 9                                       NATURE OF THE ACTION

10             1.     Nasal decongestants are over-the-counter medications that are marketed to alleviate

11   sinus pressure and sinus congestion.

12             2.     Defendants have made millions of dollars selling their nasal decongestant products.

13   Defendants’ products include: 1) Sudafed PE Sinus Congestion; 2) Sudafed PE Head Congestion

14   + Mucus; 3) Sudafed PE Sinus Pressure + Pain; 4) Sudafed PE Head Congestion + Pain; 5) Sudafed

15   PE Head Congestion + Flu Severe; 6) Sudafed PE Sinus Congestion Day + Night; 7) CVS Sinus

16   PE + Allergy; 8) CVS Sinus PE Pressure, Pain + Cold; 9) CVS Nasal Decongestant PE; 10) CVS

17   Mucus Relief Sinus Pressure, Pain & Cough; 11) CVS Mucus Relief Sinus Severe Congestion &

18   Pain; 12) CVS Sinus Pain & Congestion; 13) CVS Severe Sinus Pain & Congestion; 14) CVS

19   Sinus Relief; 15) CVS Cold, Flu & Sore Throat; 16) Advil Sinus Congestion & Pain; 17) Advil

20   Multi-Symptom Cold & Flu; 18) Advil Allergy & Congestion Relief; 19) Up & Up Sinus PE Non-

21   Drowsy Congestion Relief; 20) Signature Care Max Strength Nasal Decongestant PE; 21) Equate

22   Suphedrine PE; 22) Equate Sinus PE & Allergy; 23) Equate Sinus Congestion PE; 24) Tylenol

23   Sinus + Headache Non-Drowsy; 25) Tylenol Sinus Severe; and 26) Tylenol Cold + Flu + Cough

24   Nighttime Liquid (collectively, the “Products”).

25             3.     Defendants market the Products as having the ability to provide nasal decongestant

26   relief.

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 1             4.    Defendants attribute the Products’ ability to provide nasal decongestion relief to the

 2   inclusion of one active ingredient: Phenylephrine (“PE”).

 3             5.    PE, however, is ineffective at providing nasal decongestion relief when it is taken

 4   orally.

 5             6.    Indeed, on September 12, 2023, an advisory panel to the U.S. Food & Drug

 6   Administration (“FDA”) unanimously agreed (16-0) that oral PE is not effective at relieving nasal

 7   congestion.

 8             7.    Accordingly, Defendants’ marketing and advertising concerning the Products is

 9   false, misleading, and likely to deceive the public.

10             8.    Plaintiffs asserts claims on behalf of themselves and similarly situated purchasers

11   of Defendants’ Products for violations of the California Consumers Legal Remedies Act

12   (“CLRA”), Civil Code §§ 1750, et seq., Unfair Competition Law (“UCL”), Bus. & Prof. Code §§

13   17200, et seq., False Advertising Law (“FAL”), Bus. & Prof. Code §§ 17500, et seq., breach of

14   implied warranty of merchantability, and unjust enrichment.

15                                                PARTIES

16   Plaintiff Nelson

17             9.    Plaintiff Nelson is a resident of Pleasant Hill, California, has an intent to remain

18   there, and is therefore a domiciliary of California.

19             10.   Plaintiff Nelson purchased the 1) Sudafed PE Sinus Congestion, 2) CVS Nasal

20   Decongestant PE, and 3) Advil Sinus Congestion & Pain products numerous times over the past

21   three years at CVS and Walgreens stores in Walnut Creek, California. Plaintiff Nelson purchased

22   these products to treat her nasal congestion symptoms. Before purchasing the Products, Plaintiff

23   Nelson reviewed information about the Products, including the representation that the Products

24   would be able to provide nasal congestion relief. When reviewing the Products label, disclosures,

25   warranties, and marketing materials, Plaintiff Nelson understood them as representations and

26   warranties by Defendants that the Products would be able to provide nasal decongestion relief.

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 1          11.     Plaintiff Nelson relied on Defendants’ representations and warranties in deciding to

 2   purchase the Products over other nasal decongestant products.               Accordingly, Defendants’

 3   representations and warranties were part of the basis of the bargain, in that she would not have

 4   purchased the Products on the same terms had she known Defendants’ representations were not true.

 5          12.     Contrary to the representations on the Products’ marketing materials, the Products

 6   were not able to provide nasal decongestion relief. Plaintiff Nelson therefore did not receive the

 7   benefit of her bargain.

 8   Plaintiff Peralta

 9          13.     Plaintiff Peralta is a resident of San Jose, California, has an intent to remain there, and

10   is therefore a domiciliary of California.

11          14.     Plaintiff Peralta purchased the 1) Advil Sinus Congestion & Pain, 2) Equate

12   Suphedrine PE, 3) Tylenol Sinus + Headache, 4) Up & Up Sinus PE Non-Drowsy Congestion Relief,

13   and 5) Signature Care Max Strength Nasal Decongestant PE products numerous times over the past

14   three years at local CVS, Walmart, and Safeway stores in San Jose, California. Plaintiff Peralta

15   purchased these products to treat her nasal congestion symptoms. Before purchasing the Products,

16   Plaintiff Peralta reviewed information about the Products, including the representations that the

17   Products would be able to provide nasal decongestant relief. When reviewing the Products label,

18   disclosures, warranties, and marketing materials, Plaintiff Peralta understood them as representations

19   and warranties by Defendants that the Products would be able to provide nasal decongestion relief.

20          15.     Plaintiff Peralta relied on Defendants’ representations and warranties in deciding to

21   purchase the Products over other nasal decongestant products.               Accordingly, Defendants’

22   representations and warranties were part of the basis of the bargain, in that she would not have

23   purchased the Products on the same terms had she known Defendants’ representations were not true.

24          16.     Contrary to the representations on the Products’ marketing materials, the Products

25   were not able to provide nasal decongestion relief. Plaintiff Peralta therefore did not receive the

26   benefit of her bargain.

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 1   Defendants

 2          17.     Defendant Kenvue Inc. is an American consumer health company, and formerly the

 3   consumer healthcare division of Johnson & Johnson. Kenvue is headquartered in Skillman, New

 4   Jersey. It wholly owns Defendant McNeil Consumer Healthcare.

 5          18.     Defendant McNeil Consumer Healthcare is wholly owned by Defendant Kenvue,

 6   with headquarters in Fort Washington, Pennsylvania. Defendant McNeil Consumer Healthcare

 7   manufactures and markets the Products Sudafed PE Sinus Congestion, Sudafed PE Head Congestion

 8   + Mucus, Sudafed PE Sinus Pressure + Pain, Sudafed PE Head Congestion + Pain, Sudafed PE Head

 9   Congestion + Flu Severe, Sudafed PE Sinus Congestion Day + Night, Tylenol Sinus + Headache

10   Non-Drowsy, Tylenol Sinus Severe, and Tylenol Cold + Flu + Cough Nighttime Liquid throughout

11   the state of California and the United States.

12          19.     Defendant Johnson & Johnson Consumer, Inc. is a New Jersey based medical

13   corporation, with its headquarters in New Brunswick, New Jersey. Defendant Johnson & Johnson

14   Consumer, Inc. manufactures, markets, and sells the Products Sudafed PE Sinus Congestion, Sudafed

15   PE Head Congestion + Mucus, Sudafed PE Sinus Pressure + Pain, Sudafed PE Head Congestion +

16   Pain, Sudafed PE Head Congestion + Flu Severe, Sudafed PE Sinus Congestion Day + Night,

17   Tylenol Sinus + Headache Non-Drowsy, Tylenol Sinus Severe, and Tylenol Cold + Flu + Cough

18   Nighttime Liquid throughout the state of California and the United States.

19          20.     Defendant CVS Pharmacy, Inc. is a Rhode Island corporation with its headquarters

20   in Woonsocket, Rhode Island. Defendant CVS Pharmacy, Inc. manufactures, markets, and sells the

21   Products CVS Sinus PE + Allergy, CVS Sinus PE Pressure, Pain + Cold, CVS Nasal Decongestant

22   PE, CVS Mucus Relief Sinus Pressure, Pain & Cough, CVS Mucus Relief Sinus Severe Congestion

23   & Pain, CVS Sinus Pain & Congestion, CVS Severe Sinus Pain & Congestion, CVS Sinus Relief,

24   and CVS Cold, Flu & Sore Throat throughout the State of California and the United States.

25          21.     Defendant Haleon US Capital LLC is a Delaware limited liability company with its

26   headquarters in Warren, New Jersey. Upon information and belief, since approximately July 2022,

27   Defendant Haleon US Capital LLC has manufactured, marketed, and sold the Products Advil Sinus

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 1   Congestion & Pain, Advil Multi-Symptom Cold & Flu, and Advil Allergy & Congestion Relief

 2   throughout the state of California and the United States.

 3          22.       Defendant GSK Plc is an English company with its U.S. headquarters in Philadelphia,

 4   Pennsylvania. Upon information and belief, prior to approximately July 2022, Defendant GSK Plc

 5   had manufactured, marketed, and sold the Products Advil Sinus Congestion & Pain, Advil Multi-

 6   Symptom Cold & Flu, and Advil Allergy & Congestion Relief throughout the state of California and

 7   the United States.

 8          23.       Defendant Albertsons Companies, Inc., is a Delaware company with its headquarters

 9   in Boise, Idaho. Defendant Albertsons Companies, Inc., manufactures, markets, and sells the Product

10   Signature Care Max Strength Nasal Decongestant PE throughout the state of California and the

11   United States.

12          24.       Defendant Target Corporation is a Minnesota corporation with its principal place of

13   business in Minneapolis, Minnesota. Defendant Target Corporation manufactures, markets, and sells

14   the Up & Up Sinus PE Non-Drowsy Congestion Relief Product throughout the State of California

15   and the United States.

16          25.       Defendant Walmart Inc. is a Delaware corporation with its headquarters in

17   Bentonville, Arkansas. Defendant Walmart Inc. manufactures, markets, and sells the Products

18   Equate Suphedrine PE, Equate Sinus PE & Allergy, and Equate Sinus Congestion PE throughout the

19   State of California and the United States.

20          26.       Defendant Perrigo Company Plc is an American Irish corporation with its U.S.

21   headquarters in Allegan, Michigan. Defendant Perrigo Company Plc manufactures, markets, and

22   sells the Products Equate Suphedrine PE, Equate Sinus PE & Allergy, and Equate Sinus

23   Congestion PE throughout the State of California and the United States.

24                                    JURISDICTION AND VENUE

25          27.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)

26   because this case is a class action where the aggregate claims of all members of the proposed class

27   are in excess of $5,000,000.00, exclusive of interest and costs, there are over 100 members of the

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 1   putative class, and Plaintiffs, as well as most members of the proposed class, are citizens of states

 2   different than Defendants.

 3            28.    The Court has personal jurisdiction over Defendants because Defendants conduct

 4   substantial business within California, such that Defendants have significant, continuous, and

 5   pervasive contacts with the State of California. Moreover, Defendants have purposefully availed

 6   themselves of the laws and benefits of doing business in California, and Plaintiffs’ claims arise out

 7   of the Defendants’ forum-related activities.

 8            29.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendants

 9   transact significant business within this District and because Plaintiffs purchased and used the

10   Products in this District.

11                                      FACTUAL ALLEGATIONS

12   The Market For Decongestants

13            30.    The market for products that allegedly relieve nasal congestion is worth over $2

14   billion annually and includes over 250 products.

15            31.    The two leading ingredients used to provide relief from nasal congestion are PE and

16   pseudoephedrine. PE is the only active ingredient in the Products advertised to provide relief for

17   nasal congestion.

18            32.    While pseudoephedrine is effective as a nasal decongestant when taken orally, PE

19   is not. Nonetheless, PE accounts for approximately 80% of the market for over-the-counter

20   decongestants. In the last year alone, nearly $1.8 billion of PE-based decongestants were sold.

21   Defendants’ False Advertising

22            33.    Defendants market, sell, and distribute the Products through numerous brick-and-

23   mortar stores as well as online. On the Products packaging, Defendants represent that the Products

24   are able to provide nasal decongestion relief.

25            34.    By way of example, the Products include, but are not limited to, those depicted by

26   below:

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11          35.     By representing that the Products are effective remedies for nasal congestion,

12   Defendants induced reasonable consumers, such as Plaintiffs and the proposed class members into

13   believing that the Products were effective at providing nasal decongestion relief.            Those

14   representations, however, are false and misleading, as set forth in greater detail below.

15   The Products’ Use of Phenylephrine

16          36.     Defendants’ Products all attribute the ability to provide nasal decongestion relief to

17   one active ingredient: PE.

18          37.     Defendants do not attribute nasal decongestant relief to any other ingredient in the

19   Products.

20   Phenylephrine Does Not Provide Nasal Decongestant Relief When Taken Orally

21          38.     PE is ineffective at providing nasal decongestant relief when taken orally. All

22   available scientific authorities support this conclusion.

23          39.     For example, on May 1, 2006, two professors at the University of Florida, Dr. Leslie

24   Hendeles, PharmD Professor, Pharmacy and Pediatrics, and Dr. Randy Hatton, PharmD FCCP

25   BCPS Clinical Professor, Department of Pharmacotherapy and Translational Research College of

26   Pharmacy published a letter in Journal of Allergy and Clinical Immunology titled: Oral

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 1   phenylephrine: An ineffective replacement for pseudophedrine?1         The letter questioned the

 2   effectiveness of PE for nasal congestion based upon the results of multiple double blind, placebo-

 3   controlled studies, that show PE was no more effective than placebo in reducing nasal airway

 4   resistance. Moreover, the letter notes that the studies relied on by the FDA to approve PE were

 5   unpublished, manufacturer-sponsored studies conducted by commercial testing laboratories.

 6          40.     On February 1, 2007, three professors from the University of Florida, Dr. Leslie

 7   Hendeles, PharmD Professor, Pharmacy and Pediatrics, Dr. Randy Hatton, PharmD FCCP BCPS

 8   Clinical Professor, Department of Pharmacotherapy and Translational Research College of

 9   Pharmacy, and Almut G. Winterstein (PhD, Assistant Professor, Department of Healthcare

10   Administration) filed a Citizens Petition with the FDA concerning PE drugs.2

11          41.     As a result of the 2007 Citizens Petition, the FDA’s Nonprescription Drugs

12   Advisory Committee met on December 14, 2007 and concluded that the products could continue

13   to be sold, but 9 of 12 of the committee members voted that “new studies on response to higher

14   doses were required.”3

15          42.     Scherling-Plough Pharmaceuticals responded to the FDA’s Nonprescription Drugs

16   Advisory Committee by conducting a multicenter, phase 2, trial among 539 adults with seasonal

17   allergic rhinitis. The results of the study revealed no significant differences between placebo and

18   active treatment groups.4

19          43.     In addition, McNeil Consumer Healthcare conducted a pharmacokinetic, safety and

20   cardiovascular tolerability study of phenylephrine. Similarly, this study revealed no difference in

21   safety endpoints between placebo and 10, 20, and 30 mg of phenylephrine even though systemic

22   exposure increased disproportionately with dose. “This is noteworthy since both the relief of

23   congestion and systemic endpoints such as change in blood pressure and pulse are mediated by

24
     1
       https://www.jacionline.org/article/S0091-6749(06)00633-6/fulltext (last accessed Sept. 18, 2023).
25   2
       https://www.regulations.gov/docket/FDA-2007-P-0108/document (last accessed Sept. 18, 2023).
     3
       https://www.jaci-inpractice.org/article/S2213-2198(15)00318-9/fulltext (last accessed Sept. 18,
26   2023).
     4
       chrome-extension://efaidnbmnnnibpcajpcglclefindmkaj/https://truthinadvertising.org/wp-
27   content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-Petition-re-oral-phenylephrine.pdf (last
     accessed Sept. 15, 2023).
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 1   alpha adrenergic stimulation. The absence of a significant effect on the latter at the higher doses

 2   suggest that the concentrations reached are not sufficient to stimulate alpha adrenergic receptors.”5

 3          44.     On November 4, 2015, another Citizens Petition was filed by two professors at the

 4   University of Florida, Dr. Leslie Hendeles, PharmD Professor, Pharmacy and Pediatrics, and Dr.

 5   Randy Hatton, PharmD FCCP BCPS Clinical Professor, Department of Pharmacotherapy and

 6   Translational Research College of Pharmacy. The petition asked the FDA “to remove oral

 7   phenylephrine from the Final Monograph for OTC nasal decongestant products.”6 Specifically,

 8   the petition asked the FDA to remove Phenylephrine and to remove phenylephrine bitartrate, “both

 9   individually and in combination drug products in an effervescent dosage form.”7

10          45.     According to the 2015 Citizens Petition, “[t]wo additional studies published in 2009

11   provide further evidence of the absence of a decongestant effect from the FDA-approved

12   nonprescription does of 10mg,” and “PE was not significantly different from placebo in the mean

13   change in subjective nasal congestion scores whereas pseudoephedrine, a positive control in the

14   study, decreased congestion significantly greater than placebo and PE.”8

15   The FDA Advisory Panel’s Recent Vote on PE

16          46.     Recently, “[t]he FDA held a Non-prescription Drug Advisory Committee meeting

17   … to discuss the effectiveness of oral phenylephrine as an active ingredient in over-the-counter

18   (OTC) cough and cold products that are indicated for the temporary relief of congestion, both as a

19   single ingredient product and in combination with other ingredients.”9

20          47.     In doing so, the Panel referenced numerous studies demonstrating that PE is not

21   effective for treating nasal congestion when taken orally.

22          48.     As a result, the Panel concluded that “the current scientific data do[es] not support

23   that the recommended dosage of orally administered phenylephrine is effective as a nasal

24
     5
       Id.
25   6
       https://truthinadvertising.org/wp-content/uploads/2023/02/Hatton-Hendeles-2015-Citizens-
     Petition-re-oral-phenylephrine.pdf (last accessed Sept. 18, 2023).
26   7
       Id.
     8
       Id.
27   9
       https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-
     committee-meeting-oral-phenylephrine (last accessed Sept. 15, 2023).
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 1   decongestant.”10

 2           49.    In fact, the Panel members voted unanimously (16-0) that PE drugs were ineffective

 3   when taken orally.

 4   Misbranded Drugs Are Illegal to Sell

 5           50.    As OTC drug products regulated by the FDA, the Products must be both safe and

 6   effective and are subject to federal current Good Manufacturing Practices (“cGMP”) regulations and

 7   the FDCA’s state law analogues. These cGMP regulations require OTC medications like the

 8   Products to meet safety, quality, purity, identity, and strength standards. See 21 U.S.C.

 9   § 351(a)(2)(B).

10           51.    The cGMPs establish “minimum current good manufacturing practice for methods to

11   be used in, and the facilities or controls to be used for, the manufacture, processing, packing, or

12   holding of a drug to assure that such drug meets the requirements of the act as to safety, and has the

13   identity and strength and meets the quality and purity characteristics that it purports or is represented

14   to possess.” 21 C.F.R. § 210.1(a). In other words, manufacturers, like Defendants, at all phases of

15   the design, manufacture, and distribution chain are bound by these requirements.

16           52.    The cGMPs set forth minimum standards regarding: organization and personnel

17   (Subpart B); buildings and facilities (Subpart C); equipment (Subpart D); control of components and

18   drug product containers and closures (Subpart E); production and process controls (Subpart F);

19   packaging and label controls (Subpart G); holding and distribution (Subpart H); laboratory controls

20   (Subpart I); records and reports (Subpart J); and returned and salvaged drug products (Subpart K).

21   The FDA has worldwide jurisdiction to enforce these regulations if the facility is making drugs

22   intended to be distributed in the United States.

23           53.    Any drug product not manufactured in accordance with cGMPs is deemed

24   “adulterated” or “misbranded” and may not be distributed or sold in the United States. See 21 U.S.C.

25   §§ 331(a), 351(a)(2)(B). States have enacted laws adopting or mirroring these federal standards.

26

27   10
       https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-
     committee-meeting-oral-phenylephrine (last accessed Sept. 15, 2023).
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 1          54.     FDA regulations require a drug product manufacturer to have “written procedures for

 2   production and process control designed to assure that the drug products have the identity, strength,

 3   quality, and purity they purport or are represented to possess.” 21 C.F.R. § 211.100.

 4          55.     A drug product manufacturer’s “[l]aboratory controls shall include the establishment

 5   of scientifically sound and appropriate specifications, standards, sampling plans, and test procedures

 6   designed to assure that components, drug product containers, closures, in-process materials, labeling,

 7   and drug products conform to appropriate standards of identity, strength, quality, and purity.” 21

 8   C.F.R. § 211.160.

 9          56.     “Laboratory records shall include complete data derived from all tests necessary to

10   assure compliance with established specifications and standards, including examinations and assays”

11   and a “statement of the results of tests and how the results compare with established standards of

12   identity, strength, quality, and purity for the component, drug product container, closure, in-process

13   material, or drug product tested.” 21 C.F.R. § 211.194(a)(6).

14          57.     Defendants could have avoided any potential for misrepresenting the quality

15   characteristics that it represented the Products possessed by testing the effectiveness of PE in the

16   Products for the purported claims on the Products’ labeling.

17          58.     The ineffectiveness of PE in the Products renders the Products both adulterated and

18   misbranded under the FDCA. The Products are adulterated because they are “drug[s] and the

19   methods used in, or the facilities or controls used for, its manufacture, processing, packing, or holding

20   do not conform to or are not operated or administered in conformity with current good manufacturing

21   practice to assure that such drug meets the requirements of this chapter as to safety and has the

22   identity and strength, and meets the quality and purity characteristics, which it purports or is

23   represented to possess.” 21 U.S.C. § 351(a)(1).

24          59.     The Products are misbranded because their labeling is “false” and “misleading”

25   because it does not alleviate nasal congestion and/or sinus relief. 21 U.S.C. § 352(a)(1).

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 1          60.     A product that is “adulterated” or “misbranded” cannot legally be manufactured,

 2   advertised, distributed, or sold. 21 U.S.C. § 331(a). Adulterated and misbranded products thus have

 3   no economic value and are legally worthless.

 4          61.     As alleged herein, Defendants have violated the FDCA, California’s Consumers

 5   Legal Remedies Act (“CLRA”), California’s Unfair Competition Law (“UCL”), California’s False

 6   Advertising Law (“FAL”), and other consumer protection statutes.               Defendants engaged in

 7   fraudulent, unfair, deceptive, misleading, and/or unlawful conduct stemming from its

 8   misrepresentations and omissions surrounding the quality and purity characteristics affecting the

 9   Products.

10          62.     If Defendants had disclosed to Plaintiffs and putative Class Members that the

11   Products do not have the quality characteristics that it purports or is represented to possess, Plaintiffs

12   and     putative     Class     Members       would      not     have     purchased       the    Products

13   or they would have paid less for the Products.

14          63.     As a seller of an OTC drug product, Defendants had and has a duty to ensure that its

15   Products have the identity and strength and meets the quality characteristics that it purports or is

16   represented to possess, including through regular testing, especially before the Products are injected

17   into the stream of commerce for consumers to use on their bodies. But based on the FDA Panel’s

18   conclusions set forth above, Defendants made no reasonable effort to test its Products for the nasal

19   decongestant claims it made. Nor did it disclose to Plaintiffs in any advertising or marketing that the

20   Products did not conform to the nasal decongestant claims it purported or represented to possess. To

21   the contrary, Defendants represented and warranted, expressly and impliedly, that the Products were

22   of merchantable quality, complied with federal and state law, and did have the identity and strength

23   and meet the quality characteristics that it purports or is represented to possess.

24   Injuries to Plaintiffs and Class Members

25          64.     When Plaintiffs purchased Defendants’ Products, Plaintiffs did not know, and had no

26   reason to know, that Defendants’ Products did not have the identity and strength and meet the quality

27   characteristics that it purported to possess (i.e., the ability to alleviate nasal congestion). Not only

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 1   would Plaintiffs not have purchased Defendants’ Products had Plaintiffs known the Products did not

 2   have the ability to alleviate nasal congestion, but Plaintiffs would also not have been capable of

 3   purchasing them if Defendants had done as the law required and tested the Products for its ability to

 4   alleviate nasal congestion.

 5           65.     Consumers lack the ability to test or independently ascertain or verify whether a

 6   product has the identity and strength and meets the quality characteristics that it purports to possess,

 7   especially at the point of sale, and therefore must rely on Defendants to truthfully and honestly report

 8   what the Products can do on the Products’ packaging or labels.

 9           66.     Further, given Defendants’ position in the health and medication market as an

10   industry leader, Plaintiffs and reasonable consumers trusted and relied on Defendants’

11   representations and omissions regarding the ability to alleviate nasal congestion in the Products.

12           67.     Yet, when consumers look at the Products’ packaging, the Products are represented

13   as having the ability to alleviate nasal congestion. This leads reasonable consumers to believe the

14   Products have the ability to alleviate nasal congestion.

15           68.     No reasonable consumer would have paid any amount for products that do not have

16   the ability to alleviate nasal congestion, when the Products are marketed to consumers as having the

17   ability to alleviate nasal congestion.

18           69.     Thus, if Plaintiffs and Class members had been informed that Defendants’ Products

19   do not have the ability to alleviate nasal congestion, they would not have purchased or used the

20   Products, or would have paid significantly less for the Products, making such omitted facts material

21   to them.

22           70.     Defendant’s false, misleading, omissions, and deceptive misrepresentations regarding

23   the Products’ ability to alleviate nasal congestion are likely to continue to deceive and mislead

24   reasonable consumers and the public, as it has already deceived and misled Plaintiffs and the Class

25   Members.

26           71.     Plaintiffs and Class members bargained for a Product that has the ability to alleviate

27   nasal congestion. Plaintiffs and Class members were injured by the full purchase price of the

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 1   Products because the Products are worthless, as they do not have the ability to alleviate nasal

 2   congestion, and Defendants failed to warn consumers of this fact. Such illegally sold products are

 3   worthless and have no value.

 4          72.     As alleged above, Plaintiffs and Class members’ Products do not have the ability to

 5   alleviate nasal congestion, despite the Products’ representations to the contrary.

 6          73.     Plaintiffs and Class members are further entitled to statutory and punitive damages,

 7   attorneys’ fees and costs, and any further relief this Court deems just and proper.

 8                                        CLASS ALLEGATIONS

 9          74.     Plaintiffs, individually and on behalf of all others, brings this class action pursuant to

10   Fed. R. Civ. P. 23.

11          75.     Plaintiffs seek to represent a class defined as:

12                  All persons who purchased one or more of Defendants’ Products in the
                    United States for personal or household use within any applicable
13                  limitations period (“Nationwide Class”).
14
            76.     Plaintiffs also seek to represent a subclass defined as:
15
                    All persons who purchased one or more of Defendants’ Products in
16                  California for personal or household use within any applicable
                    limitations period (“California Subclass”).
17

18          77.     Excluded from the Class and Subclass are: (1) any Judge or Magistrate presiding over
19   this action and any members of their families; (2) Defendants, Defendants’ subsidiaries, parents,
20   successors, predecessors, and any entities in which Defendants or its parents and any entities in which
21   Defendants have a controlling interest and its current or former employees, officers, and directors;
22   and (3) individuals who allege personal bodily injury resulting from the use of the Products.
23          78.     Plaintiffs reserve the right to modify, change, or expand the definitions of the Class
24   and/or Subclass based upon discovery and further investigation.
25          79.     Numerosity: The Class is so numerous that joinder of all members is impracticable.
26   The Class likely contains thousands of members based on publicly available data. The Class is
27   ascertainable by records in Defendants’ possession.
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 1          80.    Commonality: Questions of law or fact common to the Class include, without

 2   limitation:

 3                    Whether the Products have the ability to alleviate nasal congestion;

 4                    Whether a reasonable consumer would consider the Products inability to alleviate

 5                     nasal congestion to be material;

 6                    Whether Defendants knew or should have known that the Products do not have

 7                     the ability to alleviate nasal congestion;

 8                    Whether Defendants misrepresented whether the Products have the ability to

 9                     alleviate nasal congestion;

10                    Whether Defendants failed to disclose that the Products do not have the ability to

11                     alleviate nasal congestion;

12                    Whether Defendants concealed that the Products do not have the ability to

13                     alleviate nasal congestion;

14                    Whether Defendants engaged in unfair or deceptive trade practices;

15                    Whether Defendants violated the state consumer protection statutes alleged

16                     herein;

17                    Whether Defendants were unjustly enriched; and

18                    Whether Plaintiffs and Class members are entitled to damages.

19          81.    Typicality: Plaintiffs’ claims are typical of the claims of Class members. Plaintiffs

20   and Class members were injured and suffered damages in substantially the same manner, have the

21   same claims against Defendants relating to the same course of conduct, and are entitled to relief

22   under the same legal theories.

23          82.    Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class and

24   have no interests antagonistic to those of the Class. Plaintiffs have retained counsel experienced in

25   the prosecution of complex class actions, including actions with issues, claims, and defenses similar

26   to the present case. Counsel intends to vigorously prosecute this action.

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 1          83.     Predominance and superiority: Questions of law or fact common to Class members

 2   predominate over any questions affecting individual members. A class action is superior to other

 3   available methods for the fair and efficient adjudication of this case because individual joinder of all

 4   Class members is impracticable and the amount at issue for each Class member would not justify the

 5   cost of litigating individual claims. Should individual Class members be required to bring separate

 6   actions, this Court would be confronted with a multiplicity of lawsuits burdening the court system

 7   while also creating the risk of inconsistent rulings and contradictory judgments. In contrast to

 8   proceeding on a case-by-case basis, in which inconsistent results will magnify the delay and expense

 9   to all parties and the court system, this class action presents far fewer management difficulties while

10   providing unitary adjudication, economies of scale and comprehensive supervision by a single court.

11   Plaintiff is unaware of any difficulties that are likely to be encountered in the management of this

12   action that would preclude its maintenance as a class action.

13          84.     Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P. 23(b)(3).

14                                              COUNT I
              VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW (“UCL”)
15                          Cal. Bus. & Prof. Code § 17200, et seq.
16                    (On behalf of Plaintiffs and the California Subclass)
            85.     Plaintiffs repeat and reallege each and every allegation contained in the foregoing
17
     paragraphs as if fully set forth herein.
18
            86.     Plaintiffs bring this Count on behalf of themselves and the California Subclass against
19
     Defendants.
20
            87.     The UCL prohibits any “unlawful, unfair or fraudulent business act or practice and
21
     unfair, deceptive, untrue or misleading advertising….” Cal. Bus. & Prof. Code § 17200.
22
                                         Fraudulent Acts and Practices
23
            88.     Any business act or practice that is likely to deceive members of the public constitutes
24
     a fraudulent business act or practice under the UCL. Similarly, any advertising that is deceptive,
25
     untrue or misleading constitutes a fraudulent business act or practice under the UCL.
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 1          89.     Defendants have engaged in conduct that is likely to deceive members of the public.

 2   This conduct includes representing on its Products’ labels that its Products have the ability to

 3   alleviate nasal congestion.

 4          90.     As alleged above, Defendants have engaged in deceptive, untrue, and misleading

 5   advertising by making representations regarding the quality of the Products and material omissions

 6   regarding the Products’ ability to alleviate nasal congestion.

 7          91.     Plaintiffs and the putative Class members were exposed to one or more of these

 8   representations and/or omissions during the class period and relied on one or more of these

 9   representations and/or omissions in deciding to purchase Defendants’ Products. Indeed, although

10   the Products were found to not have the ability to alleviate nasal congestion, Defendants make

11   representations on the Products’ packaging and labels to the contrary.                    Again, such

12   misrepresentations and omissions mislead consumers regarding the quality of the Products.

13          92.     By committing the acts alleged above, Defendants have engaged in fraudulent

14   business acts and practices, which constitute unfair competition within the meaning of Business &

15   Professions Code §17200.

16                                       Unlawful Acts and Practices

17          93.     The violation of any law constitutes an unlawful business practice under Business &

18   Professions Code §17200.

19          94.     Defendants’ conduct also violates Cal. Health & Safety Code § 111730, which

20   prohibits the sale of any misbranded product. By selling Products that do not accurately reflect the

21   quality of the Products, the labeling is “false and misleading in any particular” in violation of Health

22   & Safety Code § 111730.

23          95.     By violating Cal. Health and Safety Code § 111730, Defendants have engaged in

24   unlawful business acts and practices which constitute unfair competition within the meaning of Cal.

25   Bus. & Prof. Code § 17200.

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 1                                         Unfair Acts and Practices

 2            96.    Any business practice that offends an established public policy or is immoral,

 3   unethical, oppressive, unscrupulous, or substantially injurious to consumers constitutes an “unfair”

 4   practice under the UCL.

 5            97.    Defendants have engaged in unfair business practices. This conduct includes

 6   representing that the Products have the ability to alleviate nasal congestion.

 7            98.    Defendants have engaged in conduct that violates the legislatively declared policies

 8   of the FTC Act against committing unfair methods of competition and unfair or deceptive acts or

 9   practices in or affecting commerce. Defendants gained an unfair advantage over its competitors,

10   whose advertising for products must comply with the FTC Act.

11            99.    Defendants’ conduct, including misrepresenting the qualities of the Products, is

12   substantially injurious to consumers. Plaintiffs and the Class would not have paid for nasal

13   decongestant products that do not have the ability to alleviate nasal congestion but for Defendants’

14   false labeling, advertising, and promotion. Thus, Plaintiffs and the putative Class have “lost money

15   or property” as required for UCL standing, and such an injury is not outweighed by any

16   countervailing benefits to consumers or competition.

17            100.   Indeed, no benefit to consumers or competition results from Defendants’ conduct.

18   Since consumers reasonably rely on Defendants’ representation of the qualities described in the

19   Products’ labels and injury resulted from ordinary use of the Products, consumers could not have

20   reasonably avoided such injury.

21            101.   By committing the acts described above, Defendants have engaged in unfair business

22   acts and practices which constitute unfair competition within the meaning of the UCL.

23            102.   As a result of the conduct described above, Defendants have been unjustly enriched

24   at the expense of the Plaintiffs and the putative Class.

25            103.   An action for restitution is specifically authorized under Cal. Bus. & Prof. Code

26   17203.

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 1          104.    Wherefore, Plaintiffs pray for judgment against Defendants, as set forth hereafter.

 2   Defendants’ conduct with respect to the labeling, advertising, marketing, and sale of the Products is

 3   unfair because Defendants’ conduct was immoral, unethical, unscrupulous, or substantially injurious

 4   to consumers and the utility of its conduct, if any, does not outweigh the gravity of the harm to its

 5   victims.

 6          105.    On behalf of Plaintiffs and the putative Class, Plaintiffs seek an order for the

 7   restitution of all monies spent on the Products, which were acquired through acts of fraudulent,

 8   unfair, or unlawful competition. In addition, because the Products admittedly do not have the ability

 9   to alleviate nasal congestion, the measure of restitution should be rescission and full refund insofar

10   as the Products are worthless. But for Defendants’ misrepresentations and omissions, Plaintiffs

11   would have paid nothing for Products that do not have the ability to alleviate nasal congestion.

12   Indeed, there is no discernible “market” for an OTC nasal decongestant that does not have the ability

13   to alleviate nasal congestion. As a result, the Products are rendered valueless.

14          106.    Plaintiffs and California Subclass Members have no adequate remedy at law for this

15   claim. Plaintiffs plead their claim for equitable relief in the alternative, which inherently would

16   necessitate a finding of no adequate remedy at law.

17          107.    Alternatively, legal remedies available to Plaintiffs are inadequate because they are

18   not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.

19   Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317

20   (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to

21   warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The

22   mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To

23   have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It

24   must reach the whole mischief and secure the whole right of the party in a perfect manner at the

25   present time and not in the future.”).

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                                                  COUNT II
 1                   VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW
                               Cal. Bus. & Prof. Code § 17500, et seq.
 2
                         (On behalf of Plaintiffs and the California Subclass)
 3          108.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing
 4   paragraphs as if fully set forth herein.
 5          109.    Plaintiffs bring this Count on behalf of themselves and the California Subclass against
 6   Defendants.
 7          110.    California’s False Advertising Law prohibits any statement in connection with the
 8   sale of goods “which is untrue or misleading.” Cal. Bus. & Prof. Code §17500.
 9          111.    As set forth herein, Defendants’ marketing claims that its Products are able to provide
10   nasal decongestion relief are untrue and misleading. To the contrary, the Products do not have the
11   ability to alleviate nasal congestion.
12          112.    Defendants knew, or reasonably should have known, that their claims regarding the
13   quality of its Products and/or omissions regarding the Products inability to alleviate nasal congestion
14   were untrue or misleading.
15          113.    Plaintiffs and members of the California Subclass are entitled to monetary relief, and
16   restitution in the amount they spent on the Products.
17          114.    Plaintiffs and California Subclass Members have no adequate remedy at law for this
18   claim. Plaintiffs plead their claim for equitable relief in the alternative, which inherently would
19   necessitate a finding of no adequate remedy at law.
20          115.    Alternatively, legal remedies available to Plaintiffs are inadequate because they are
21   not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.
22   Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317
23   (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to
24   warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The
25   mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To
26   have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It
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 1   must reach the whole mischief and secure the whole right of the party in a perfect manner at the

 2   present time and not in the future.”).

 3                                             COUNT III
              VIOLATIONS OF THE CALIFORNIA CONSUMERS LEGAL REMEDIES ACT
 4
                            Cal. Bus. & Prof. Code § 1750, et seq.
 5                    (On behalf of Plaintiffs and the California Subclass)

 6          116.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

 7   paragraphs as if fully set forth herein.

 8          117.    Plaintiffs bring this Count on behalf of themselves and the California Subclass against

 9   Defendants.

10          118.    Defendants have employed or committed methods, acts, or practices declared

11   unlawful by Cal. Civ. Code §1770 in connection with the Products.

12          119.    In particular, by failing to inform consumers that the Products do not have the ability

13   to alleviate nasal congestion, Defendants have violated the following provisions under California

14   Civil Code § 1770(a):
                    (5) by representing that the Products have characteristics, uses and/or
15
                    benefits which they do not;
16
                    (7) by representing that the Products were of a particular standard,
17                  quality, or grade which they are not; and

18                  (9) by advertising the Products with intent not to sell them as
                    advertised.
19

20          120.    Plaintiffs and California Subclass Members have no adequate remedy at law for this

21   claim. Plaintiffs plead their claim for equitable relief in the alternative, which inherently would

22   necessitate a finding of no adequate remedy at law.

23          121.    Alternatively, legal remedies available to Plaintiffs are inadequate because they are

24   not “equally prompt and certain and in other ways efficient” as equitable relief. American Life Ins.

25   Co. v. Stewart, 300 U.S. 203, 214 (1937); see also United States v. Bluitt, 815 F. Supp. 1314, 1317

26   (N.D. Cal. Oct. 6, 1992) (“The mere existence’ of a possible legal remedy is not sufficient to

27   warrant denial of equitable relief.”); Quist v. Empire Water Co., 2014 Cal. 646, 643 (1928) (“The

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 1   mere fact that there may be a remedy at law does not oust the jurisdiction of a court of equity. To

 2   have this effect, the remedy must also be speedy, adequate, and efficacious to the end in view … It

 3   must reach the whole mischief and secure the whole right of the party in a perfect manner at the

 4   present time and not in the future.”).

 5          122.    Wherefore, Plaintiffs, on behalf of themselves and all other members of the Class

 6   seek to enjoin the unlawful acts and practices described herein. Plaintiffs reserve the right to

 7   request amendment of this complaint to include a request for damages under the CLRA after

 8   complying with Civil Code 1782(a).
                                                    COUNT IV
 9                       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                            (On behalf of Plaintiffs and the Nationwide Class)
10
            123.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing
11
     paragraphs as if fully set forth herein.
12
            124.    Plaintiffs bring this claim on behalf of themselves and the Nationwide Class against
13
     Defendants.
14
            125.    At all times relevant all fifty States and the District of Columbia and Puerto Rico have
15
     codified and adopted the provisions of the Uniform Commercial Code governing the implied
16
     warranty of merchantability and fitness for ordinary purpose.
17
            126.    Defendants were at all times a “merchant” within the meaning of Article 2 of the
18
     U.C.C., as codified under applicable law.
19
            127.    The Products are and were goods within the meaning of Article 2 of the U.C.C., as
20
     codified under applicable law.
21
            128.    Defendants were obligated to provide Plaintiffs and the other Class Members
22
     Products that were of merchantable quality, were reasonably fit for the purpose for which they were
23
     sold, and confirmed to the standards of the trade.
24
            129.    Defendants impliedly warranted that those drugs were of merchantable quality and fit
25
     for that purpose.
26

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 1          130.    Defendants breached their implied warranties, because the Products were not of

 2   merchantable quality or fit for their ordinary purpose.

 3          131.    Defendants’ breaches of implied warranties were a direct and proximate cause of

 4   Plaintiffs’ and the other Class members’ damages.

 5                                                   COUNT V
                                            UNJUST ENRICHMENT
 6
                             (On behalf of Plaintiffs and the Nationwide Class)
 7          132.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing
 8   paragraphs as if fully set forth herein.
 9          133.    Plaintiffs bring this Count on behalf of themselves and the Nationwide Class against
10   Defendants.
11          134.    This claim is brought under the laws of the State of California.
12          135.    Defendants’ conduct violated, inter alia, state and federal law by manufacturing,
13   advertising, marketing, and selling the Products while misrepresenting and omitting material facts.
14          136.    Defendants’ unlawful conduct allowed Defendants to knowingly realize substantial
15   revenues from selling the Products at the expense of, and to the detriment or impoverishment of,
16   Plaintiffs and Class members and to Defendants’ benefit and enrichment. Defendants have thereby
17   violated fundamental principles of justice, equity, and good conscience.
18          137.    Plaintiffs and Class members conferred significant financial benefits and paid
19   substantial compensation to Defendants for the Products, which were not as Defendants represented
20   them to be.
21          138.    Defendants knowingly received and enjoyed the benefits conferred on it by Plaintiffs
22          and Class members.
23          139.    It is inequitable for Defendants to retain the benefits conferred by Plaintiffs and Class
24   members’ overpayments.
25          140.    Plaintiffs and Class members seek establishment of a constructive trust from which
26   Plaintiffs and Class members may seek restitution.
27

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 1                                          PRAYER FOR RELIEF

 2          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, pray for

 3   relief and judgment against Defendants as follows:

 4                     Certifying the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure,
                        appointing Plaintiffs as representatives of the Class and Subclasses, and
 5
                        designating Plaintiffs’ counsel as Class Counsel;
 6
                       Awarding Plaintiffs and Class members compensatory damages, in an amount to
 7                      be determined at trial;
 8                     Awarding Plaintiffs and Class members appropriate relief, including but not
 9                      limited to actual damages;

10                     For restitution and disgorgement of profits;

11                     Awarding Plaintiffs and Class members reasonable attorneys’ fees and costs as
                        allowable by law;
12

13                     Awarding pre-judgment and post-judgment interest;

14                     For punitive damages; and
15
                       Granting any other relief as this Court may deem just and proper.
16

17                                      DEMAND FOR JURY TRIAL

18          Plaintiffs hereby demand a jury trial on all issues so triable as of right.

19
     Dated: September 22, 2023                      Respectfully submitted,
20
                                                    BURSOR & FISHER, P.A.
21

22                                                  By:         /s/ Sarah N. Westcot
                                                                    Sarah N. Westcot
23
                                                    Sarah N. Westcot (State Bar No. 264916)
24                                                  701 Brickell Ave., Suite 1420
                                                    Miami, FL 33131-2800
25                                                  Telephone: (305) 330-5512
                                                    Facsimile: (305) 676-9006
26                                                  E-Mail: swestcot@bursor.com
27                                                  BURSOR & FISHER, P.A.
                                                    L. Timothy Fisher (State Bar No. 191626)
28

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 1                                       Walnut Creek, CA 94596
                                         Telephone: (925) 300-4455
 2                                       Facsimile: (925) 407-2700
                                         E-Mail: ltfisher@bursor.com
 3
                                         Counsel for Plaintiffs
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 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)

 2          I, Sarah N. Westcot, declare as follows:

 3          1.      I am an attorney at law licensed to practice in the State of California and a member

 4   of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel of record for Plaintiffs.

 5   Plaintiff Nelson resides in Pleasant Hill, California. Plaintiff Peralta resides in San Jose, California.

 6   I have personal knowledge of the facts set forth in this declaration and, if called as a witness, I could

 7   and would competently testify thereto under oath.

 8          2.      The Complaint filed in this action is filed in the proper place for trial under Civil Code

 9   Section 1780(d) in that a substantial portion of the events alleged in the Complaint occurred in the

10   Northern District of California, as Plaintiffs purchased their Products within this District.

11   Additionally, Defendants advertised, marketed, manufactured, distributed, and/or sold the Products

12   at issue to Class Members from this District.

13          I declare under the penalty of perjury under the laws of the State of California and the United

14   States that the foregoing is true and correct and that this declaration was executed at Miami, Florida

15   this 22nd day of September, 2023.

16
                                                       /s/ Sarah N. Westcot
17                                                        Sarah N. Westcot
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